
Chancellor D. Johnson
delivered the opinion of the court.
The court concur with the presiding chancellor, that the will of Edward Blake could not control the dispositions of the deed, previously executed ; and that under the limitation over to such of the issue of his daughter, Sarah Purcell, as should be living at the time of her death, and should live to attain majority, or marry, the children of her deceased son, James S. Purcell, were entitled to take in common with the complainant, her surviving son, per capita, subject to be divested, in the event of their dying unmarried, and within the age of majority.
The decree of the Circuit Court is, therefore, affirmed.
DAVID JOHNSON.
We concur,
J. JOHNSTON,
WM. HARPER.
